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News

Meet The Press 01/15/17




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Meet the Press

01-15-2017

(BEGIN TAPE)

CHUCK TODD:

This Sunday, that stunning charge from an American civil rights icon.

REP. JOHN LEWIS:

I dotal see the President-elect as a legitimate president.

CHUCK TODD:

Jobn Lewis says the Russians helped destroy Mary Clinton's candidacy.

REP. JOHN LEWIS:

I think the Russians participated in helping this man get elected.

CHUCK TODD:
                                                                                  Primal-Torras
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My exclusive interview with Congressman Lewis, the national debate his comments have already
inspired, and reaction this morning from Donald Trump's incoming chief of staff, Reince Priebus.
Plus growing concerns about Donald Trump's coziness with Vladimir Putin.

SEN. LINDSEY GRAHAM:

Do you think the Russians were behind hacking into our elections?

SEN. MARCO RUBIO:

If Vlarlimir Putin a war criminal?

SEN. JOHN McCAIN:

Should we ignore the lessons of history and our our relationship with Vladimir Putin?

CHUCK TODD:

Democratic Senator Dianne Feinstein joins me to explain the scope of the first Congressional probe
into these allegations. And with the F.B.I.'s e-mail investigation now under investigation itself,
Democrats go public with their anger at Director James Comey.

REP. MAXINE WATERS:

The F.B.L director has no credibility.

CHUCK TODD:

Joining me for insight and analysis are Rich Lowry of The National Review, Helene Cooper of The
New York Times, Jeffrey Goldberg of The Atlantic, and Danielle Pletka of The American Enterprise
Institute. Welcome to Sunday, it's Meet the Press.

(END TAPE)

CHUCK TODD:

Good Sunday morning on this Martin Luther King Junior weekend, and the last Sunday of the
Obama presidency. Even before John Lewis's explosive statements denying Donald Trump's
legitimacy as president, we were experiencing a week in which our democracy seemed to be
undergoing a bit of a stress test. Monday, President-Elect Trump, in effect, challenged decades-old
laws against nepotism by hiring his son-in-law, Jared Kushner, as a senior advisor. Tuesday, a dossier
of embarrassing but unverified accounts of Mr. Trump's ties to Russia are published by the online
site BuzzFeed.

Wednesday, the president-elect holds a bizarre news conference where, among other things
called CNN "fake news" for reporting the existence of that dossier. Thursday, the Justice
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Department's inspector general announces a review of how F.B.I. Director James Comey handled
the Hillary Clinton e-mail investigation. And then Friday, a living icon of the civil rights movement,
Congressman John Lewis of Georgia, says he doesn't consider Donald Trump to be a legitimate
president.

In a moment, talk to the incoming chief of staff for President-Elect Trump, Reince Priebus. But
with John Lewis's comments making headlines all weekend, we're going to begin with part one of
my interview with Lewis and his comments about Donald Trump.

(BEGIN TAPE)

CHUCK TODD:

You have forged relationships with many presidents. Do you plan on trying to forge a relationship
with Donald Trump?

REP. JOHN LEWIS:

You know, I believe in forgiveness. I believe in trying to work with people. It will be hard. It's going
to be very difficult. I don't see this president-elect as a legitimate president.

CHUCK TODD:

You do not consider him a legitimate president?

REP. JOHN LEWIS:

No -

CHUCK TODD:

Why is that?

REP. JOHN LEWIS:

I think the Russians participated in helping this man get elected. And they helped destroy the
candidacy of Hillary Clinton. I don't plan to attend the inauguration. It will be the first one that I
miss since rye been in the Congress. You cannot be at home with something that you feel that is
wrong, is not right.

CHUCK TODD:

That's going to send a big message to a lot of people in this country, that you don't believe he's a
legitimate president.

REP. JOHN LEWIS:                                                                                  Prtamr-Torras
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I think there was a conspiracy on the part of the Russians and others to help him get elected. That's
not right. That's not fair. That's not the open, Democratic process.

CHUCK TODD:

You're a man of action. You have been your whole life. You believe this president is not legitimate
What would you tell young folks, young activists to do?

REP. JOHN LEWIS:

I would say to young people, and I continue to say it to people today, and rm going to say It during
the next few days as we celebrate and commemorate the birthday of Martin Luther KingJr., that
when you see something that is not right, not fair, not just, you have a moral obligation to do
something. You cannot afford to be quiet or to be silent.

CHUCK TODD:

So what should be done? What should Nancy Pelosi do? What should Chitck Schumer do? What
should Barack Obama do?

REP. JOHN LEWIS:

We must not be silent. We all must act.

CHUCK TODD:

Do you think the president's been too silent?

REP. JOHN LEWIS:

No, rm not going to suggest that the president's been too silent. He's the outgoing president. But
those of us in position and those of us not in position, we've got to go out there and make some
noise. We've got to organize.

CHUCK TODD:

That is a powerful thing to say, coming from you, that you do not believe he's a legitimately elected
president. What should be done?

REP. JOHN LEWIS:

Well, we have to continue to work, continue to speak up, to speak out.

CHUCK TODD:

If he's not legitimate though, how do you accept working with him under any circumstance      Pilaw-Tams
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REP. JOHN LEWIS:

Well, it's going to be very hard and very difficult. Almost impossible for me to work with hint

(END TAPE)

CHUCK TODD:

We'll have more of that interview with Congressman Lewis later in the program, including whether
he would ever invite Donald Trump to Selma, and as well, his take on President Obama's legacy.
That's later in the broadcast. Not surprisingly, Lewis's comments drew some strong reaction from
both sides of the aisle here in Washington, and multiple responses from the man he criticized,
President-elect Trump.

(BEGIN TAPE)

CHUCK TODD:

A day after CongressmanJohn Lewis told me he doesn't believe Trump is a legitimately elected
president, Trump responded, tweeting "CongressmanJohn Lewis should spend more time on fixing
and helping his district, which is in horrible shape and falling apart, not to mention crime-infested,
rather than falsely complaining about the election results. All talk, talk, talk, no action or results.
Sad."

Then, late last night, after many pointed out, Lewis's Atlanta district is solidly middle class with
wealthy areas, Trump tweeted again: "Congressman John Lewis should finally focus on the burning
and crime-infested inner cities of the U.S.. I can use all the help I can get"With five days to go until
Trump in sworn in, the civil rights icon has ignited a new debate about Trump's legitimacy, putting
Republicans on the defensive.

REP. DARRELL ISSA::

John's a good man. And I think he will, in time, feel that he used his words poorly.

CHUCK TODD:

And initially dividing Democrats.

REP. BARBARA LEE:

John Lewis is right on target, you know, in terms of how this President-elect was elected.

DAVID AXELROD:

I just don't want to see this constant churning that leads to a kind of reflexive reaction every
                                                                                                   Prhaw-Terms
president gets elected who we don't like.
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CHUCK TODD:

But Trump's eagerness to pick a fight with a legend is now uniting the Democrats. Its the latest in a
coming showdown over Russia, its interference in the election and ties to Trump campaign. Trump's
pick for National Security Advisor, Michael Flynn, is facing questions about a series of phone calls
with Russia's ambassador, including on the day the Obama administration announced sanctions
retaliating agai P st Russia for its interference in the election.
DAVID IGNATIUS:

On the very eve of these sanctions, was it right to have that conversation?
CHUCK TODD:
Now Trump tells The Wall Street Journal he would be open to lifting sanctions on Russia in the
future. Quote, "If you get along, and if Russia is really helping us, why would anybody have
sanctions if somebody's doing some really great things?" But three senators in Trump's own party
disagree with him on Russia. And that disagreement dominated confirmation hearings this week.

SEN. MARCO RUBIO:
Do you believe that Vladimir Putin and his cronies are responsible for ordering the murder of
countless, dissidents, journalists and political opponents?
REX TILLERSON:

I do not haw sufficient information to make that claim.
SEN. MARCO RUBIO:

None of this is classified, Mr. Tillersono these people am dead.
SEN. LINDSEY GRAHAM:
Do you think the Russians were behind hacking into our election?

SEN. JEFF SESSIONS:
I have done no research into that I know just what the media says about it.

SEN. LINDSEY GRAHAM:
Do you think you could get briefed any time soon?

SEN. JEFF SESSIONS:
Well, nineed to.                                                                             Privacy-Terms
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SEN. LINDSEY GRAHAM:

I think you do, too.

SEN. JOHN McCAIN:

Russia has invaded Ukraine and ex-Crimea, threatened N.A.T.O. allies, intervened militarily in Syria,
leaving a trail of death and destruction.

(END TAPE)

CHUCK TODD:

And joining me now is the president-elect incoming chief of staff, Reince Priebus. Mr. Priebus,
welcome back to the program, sir.

REINCE PRIEBUS:

Thank you, Chuck.

CHUCK TODD:

Let me start with something Republican Congressman Justin Amash tweeted. He had a pretty
succinct response to the second, excuse me third, tweet that the President-elect made on John
Lewis, simply, "Dude, just stop." Let me ask you this. Did the president-elect contemplate reaching
out to Congressman Lewis privately before tweeting?

REINCE PRIEBUS:

Look, here's the thing. I think that, Chuck, it's shocking that Congressman Lewis, who is a civil
rights icon and is a person who's championing voting rights, which actually question the legitimacy
of an election in this country in starting this firestorm. I mean the truth is Donald Trump won 30 of
50 counties. He won about 128 out of the 159 counties in Georgia. He flipped 200 counties that
Obama won and had the biggest electoral landslide on our side of the aisle since Ronald Reagan.

I mean I get, you want to go back and forth on tweets. But the truth is it's irresponsible for John
Lewis, historic as he is, to have done this. And the other piece of this, Chuck, is that Barack Obama
should step up, as well, and call it what it is. It's wrong what is happening. It's wrong how some of
these Democrats are treating President-elect Trump. We have a great relationship with the White
House.

I talk to Dennis McDonough every day. We had a great meeting with all of our cabinet members and
all of the sitting cabinet members in the White House on Friday. The transfer of power withi
White House is going great But to do this to President-elect Trump five days before he puts
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on the bible, it's just wrong. And by the way, the Democrats are fundraising on this comment from
Congressman Lewis right now. So they're making money on it.
CHUCK TODD:
Let me ask you this, because one of the things that Congressman Lewis says that he will never forget
and possibly never forgive is when Donald Trump said that Vladimir Putin was a stronger leader
than President Obama. And there is going to be some other people that respond to your comments
right now, Mr. Priebus, and say, "Donald Trump spent five years questioning the legitimacy of
Brack Obama's constitutional viability to be president of the United States with the blither
controversy." Do you understand why there are going to be some who look at your criticism ofJohn
Lewis and say, "That's hypocritical, coming from somebody that works for Donald Trump?"
RUNGE PRIEBUS:
So first of all, the president-elect never said that Vladimir Putin was a better person. He didn't say
that he was-

CHUCK TODD:
I said, "Stronger leader."

REINCE PRIEBUS:
-he looked up to Vladimir-

CHUCK TODD:
I said-
REINCE PRIEBUS:

Hang on, let me Just finish.
CHUCK TODD:
But my question to you was "stronger leader," for what its worth. That's what I quoted.
REINCE PRIEBUS'

Okay. I get it. And I'm trying to make the distinction. It wasn't, "He's a better person, I would rather
have him as president of United States." It was that the characteristics of leadership can be parsed
and compared. And characteristic qualities can be a lot of things. And that's what he was talking
about.
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But certainly wouldn't prefer Vladimir Putin over Barack Obama as President of United States. That's
ridiculous. And to take an old argument about where the president was born has nothing to do with
whether or not, in a democracy in the United States, whether Donald Trump won the election and
whether it was legitimate.

James Clapper, the intelligence community, I don't know if John Lewis knows more than they do.
But they have concluded that there's no evidence that anything that was done in the course of this
election by Russians or whoever changed the course of this election. In fact, the only evidence there
is of tampering and having a real connection to foreign leadership was the DNC paying an operative
over $400,000 to meddle in the Ukraine to dig up dirt on Donald Trump. No one's talking about the
$400,000 that the DNC spent digging up dirt with an operative in the Ukraine. There's nothing here
in regard to this issue. And Russia and all of the defense-

CHUCK TODD:

Wait a minute.

REINCE PRIEBUS:

-intelligence agencies have concluded that.

CHUCK TODD:

I'm just curious. When you say there's nothing here, there's-

MINCE PRIMUS:

I mean evidence that it changed the outcome of the election.

CHUCK TODD:

You're talking about- you're not disputing that there is a lot of evidence of Russia's attempts to
interfere in the election.

REINCE PRIEBUS:

rm not disputing that the Russian entities hacked the DNC. But I am-- I'm not going to go back to our
interview of a few weeks ago. I am also going to say that, when you don't have any defenses on your
computer system and you basically hand over 50,000 e-mails, obviously that makes it a whole lot
easier. And I also think that the Clinton folks wasted a billion dollars of their donors' money, and
they've got a lot to answer for. And none of this would be happening-

CHUCK TODD:

Right-                                                                                          Pilaw-Tams
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MINCE PRIEBUS:

-if Hffiary Clinton would have simply not used a personal server in violation of federal law.

CHUCK TODD:

Okay. But Mr. Priebus, does that excuse a foreign government from attempting to interfere in the
United States election?

REINCE PRIEBUS:

We've never- of course not. All of its wrong. China's wrong, Russia's wrong, Iran's wrong. All of
these entities are wrong for doing what they've done. But back to John Lewis. For him then to say,
which no intelligence official is saying, that Donald Trump was elected illegitimately is irresponsible.
And just because he's a civil rights leader and someone that I respect as a civil rights leader, and
someone that I went to Selma with him-

CHUCK TODD:

Yes, you did.

MINCE PRIEBUS:

-and many others a few years ago, it doesn't excuse the fact that his statement was not responsible.
And it's not right. And it's too bad, because President-elect Trump's going to be a great president.
And this country elected him in an electoral landslide. And it's a shame. It's really a shame that, five
days from now, he's being sworn in, and we're talking about this.

CHUCK TODD:

I want to talk about, because the issue has to do with. Russia, and there was another dispute and
some concern that, on the same day that the Obama administration announced new sanctions
against Russia for their meddling in the 2016 election, that the incoming National Security Advisor,
Michael Flynn, was on the phone multiple times with the Russian ambassador United States. Can
you say definitively that there was no promises, no winks, no anything that somehow there was an
acknowledgement that these sanctions will go away as quickly as possible once the inauguration
takes place?

REINCE PRIEBUS:

So Chuck, almost every single day, General Flynn talks to counterparts and ambassadors from all
over the world, almost every single day. That's his job. So as a National Security Advisor, for those
that don't know, one of his jobs is to be in constant communication with his counterparts in
issues all over the world.
                                                                                                     -Tams
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The tick tack on this is that, on Christmas, the two of them texted each other "Merry Christmas." A
couple days later, this ambassador texted General Flynn that he wanted to talk. And then the next
day, they had a conversation, which did happen to be that same day. But I have talked to General
Flynn. None of that came up.

The subject matter of sanctions or the actions taken by the Obama did not come up in the
conversation. In fact, it was the sports team that was in an unfortunate plane accident. They talked
about setting up a phone call after inauguration. And they also talked about a conference in Syria,
or a conference in regard to ISIS in Syria. So those were the only subjects that came up. But there's
no controversy in General Flynn talking to his counterparts around the world.

CHUCK TODD:

So there was no challenge of American policy currently by Mr. Flynn with the Russian ambassador?

REINCE PRIEBUS:

None.

CHUCK TODD:

Okay. One final question-

REINCE PRIEBUS:

No, sir.

CHUCK TODD:

There's a new report out this morning from Esquire Magazine that includes some quotes, both from
the incoming press secretary, but some anonymous quotes that seemed to indicate that it is your
intent to remove the White House Press Corps from the White House. Is that true?

REINCE PRIEBUS:

Well look, first of all- let me- no, because the White House obviously is 18 acres, right, Chuck? So
no, the technical answer is no. But what we have is that you saw the news conference the other day.
And by the way, I have to quarrel with you. I don't think It was a bizarre news conference. I don't
think it's a fair characterization. But there was 500 to 600 reporters at that news conference.

What I'm talking about, and what we're talking about, and the only thing that was even discussed
about this, was whether or not you want to take that room that only holds 50 people, and that very
small press room, which it looks big on T.V. but it's very tiny-

CHUCK TODD:                                                                                   Priori-Tams
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REINCE PRIEBUS:

-and whether you want to go 50 feet to the EOB and have, for the first few weeks or the first month
or so, the press conferences where you can fit three to four times the amount of people.

CHUCK TODD:

So this is not about-

REINCE PRIEBUS:

It's about more access.

CHUCK TODD:

So this is not about-

REINCE PRIEBUS:

This is just about-

CHUCK TODD:

-the office space or any of that business.

REINCE PRIEBUS:

This is about quadrupling the amount of reporters that can cover our press conferences-

CHUCK TODD:

But there will still be reporters-

REINCE PRIEBUS:

-in the White House.

CHUCK TODD:

There will still be reporters every day going to work In the White House?

REINCE PRIEBUS:

Well, that hasn't been determined, Chuck. But as of now, the only thing that created this sto
want to make it very dear, was the question of whether or not-
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CHUCK TODD:

Right.

REINCE PRIEBUS:

-the press briefings, at least initially, are going to be-

CHUCK TODD:

But this is- is this about-

REINCE PRIEBUS:

in the EOB.

CHUCK TODD:

But you're not answering the que- is this about press briefings, or is this about kicking the press out
of the building all together?

REINCE PRIEBUS:

This is about press briefings.

CHUCK TODD:

Okay.

REINCE PRIEBUS•

That's what's created this story.

CHUCK TODD:

All right. Reince Priebus, I will leave it there. So the press will still be going to work every day in the
White House in the Trump administration.

REINCE PRIEBUS:

How about a little go Pack- how about a little go Pack go, huh?

CHUCK TODD:

There'll be a lot of that, that I promise you, Reince Priebus, all day today. All right, sir, I appreciate
your time Thanks for coming out and sharing your views. All right. So much still to get to in
morning's broadcast, including the decision by the Justice Department's Inspector General t
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investigate how the F.B.I. handled its own investigation of the Hillary Clinton e-mails. And nil talk to
Democratic Senator Dianne Feinstein of California about concerns over the relationship between
the Trump team and Vladimir Putin's Russia.

***COMIVJERCIAL BREAK***

CHUCK TODD:

Welcome back, panel is here: Rich Lowry editor of The National Review, Helene Cooper, Pentagon
correspondent for The New York Times, Danielle Pletka from The American Enterprise Institute,
and Jeffrey Goldberg, the editor-in-chief of The Atlantic. Welcome. Jeffrey, let me start with you. This
was already a tumultuous week.

JEFFREY GOLDBERG:

-yeah.


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CHUCK TODD:

-going to the inauguration, and then John Lewis versus Donald Trump. Thoughts?

JEFFREY GOLDBERG:

Right. Well, right. I mean it's sort of this Monday through Saturday thing. rm wondering, of course,
if this is going to be what the next four years are going to be lie every day. The thought that I have
about Lewis is an operative one, also. The first thought is, ils Rex Tiuierson or Jim Mattis, the defense
secretary, are they going to have to have special people monitoring Donald Trump's Twitter feed to
see what policy becomes?

The John Lewis thing is interesting as a moral issue, as a political issue. Ws also interesting as an
operational issue. rm curious about how he's going to use this tool going forward. Because he's
about to become president. And he is so easily trolled by people that when he becomes president, if
North Korea, China, someone else, starts trolling him, how is he going to react? Because this
an appropriate reaction.
                                                                                                    -Tams
